                    UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION

UNITED STATES OF AMERICA )
                         )
vs.                      ) Case No. 3:17-cr-00104-2
                         ) Chief United States District Judge
TODD WHITE               ) Waverly Crenshaw

        MOTION FOR LEAVE TO FILE PLEADING UNDER SEAL

      Comes now Todd White, by and through counsel of record, and hereby

respectfully moves this Honorable Court to allow him to file the pleading

contemporaneously filed herewith under seal. In support of this motion, Mr. White

would state the following:

      1.       Mr. White is required to file a motion for leave of court to make such a

filing under seal pursuant to the “Administrative Practices and Procedures for

Electronic Case Filing” as adopted by this Court in Administrative Order Number

167 and Section 5.07.

      2.       Mr. White would submit that he is filing a pleading contemporaneously

that includes personal information related to Mr. White that is not appropriate for

public view.

      3.       Mr. White would therefore move this Honorable Court to grant this

motion and permit the filing of the contemporaneously filed pleading under seal.




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                                      Respectfully submitted,

                                      /s/ Heather G. Parker____________
                                      Heather G. Parker, BPR #30293
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                                      Attorney for Todd White

                         CERTIFICATE OF SERVICE

      I hereby certify that on September 17, 2020, I electronically filed the
foregoing Motion for Leave to File Pleading Under Seal with the U.S. District Court
Clerk by using the Cm/ECF system, which will send a Notice of Electronic Filing to
the following: Amanda J. Klopf, Assistant United States Attorney, 110 Ninth
Avenue South, Suite A961, Nashville, Tennessee 37203.

                                                   /s/ Heather G. Parker_______
                                                   HEATHER G. PARKER




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